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                           UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                  LUFKIN DIVISION

UNITED STATES OF AMERICA                       §
                                               §
v.                                             §    CASE NO. 9:16CR8-3
                                               §
ROMAN CASTILLO                                 §

         FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
              BEFORE THE UNITED STATES MAGISTRATE JUDGE

       By order of the District Court, this matter was referred to the undersigned United States

Magistrate Judge for administration of a guilty plea and allocution under Rules 11 and 32 of the

Federal Rules of Criminal Procedure. Magistrate judges have the statutory authority to conduct a

felony guilty plea proceeding as an “additional duty” pursuant to 28 U.S.C. § 636(b)(3). United

States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002), cert. denied, 123 S. Ct. 1642 (2003).

On June 30, 2016 this cause came before the undersigned United States Magistrate Judge for

entry of a guilty plea by the defendant, Roman Castillo, on Count One of the charging

Indictment filed in this cause.

       Count One of the Indictment charges that from on or about sometime in 2011, the exact

date being unknown to the Grand Jury, and continuing thereafter until August 1, 2015, in the

Eastern District of Texas and elsewhere, defendant Roman Castillo and 6 co-defendants and



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others both known and unknown to the grand jury, knowingly and intentionally conspired and

agreed with each other, and with persons known and unknown to the Grand Jury, to distribute

and to possess with the intent to distribute a Schedule II controlled substance, namely, a mixture

or substance containing a detectable amount of cocaine, in violation of Title 21 United States

Code, Section 846.

       Defendant, Roman Castillo, entered a plea of guilty to Count One of the Indictment into

the record at the hearing.

       After conducting the proceeding in the form and manner prescribed by Federal Rule of

Criminal Procedure 11 the Court finds:

       a. That Defendant, after consultation with counsel of record, has knowingly, freely and

voluntarily consented to the administration of the guilty plea in this cause by a United States

Magistrate Judge in the Eastern District of Texas subject to a final approval and imposition of

sentence by the District Court.

       b. That Defendant and the Government have entered into a plea agreement and a plea

agreement addendum which were addressed in open court, entered into the record, and placed

under seal.

       c. That Defendant is fully competent and capable of entering an informed plea, that

Defendant is aware of the nature of the charges and the consequences of the plea, and that the

plea of guilty is a knowing, voluntary and freely made plea. Upon addressing the Defendant

personally in open court, the Court determines that Defendant’s plea is voluntary and did not

result from force, threats or promises. See FED. R. CRIM. P. 11(b)(2).



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        d.   That Defendant’s knowing, voluntary and freely made plea is supported by an

independent factual basis establishing each of the essential elements of the offense and Defendant

realizes that his conduct falls within the definition of the crimes charged under 21 U.S.C. § 846.

                                   STATEMENT OF REASONS

        As factual support for Defendant’s guilty plea, the Government presented a factual basis.

See Factual Basis and Stipulation. In support, the Government and Defendant stipulated that if

this case were to proceed to trial the Government would prove beyond a reasonable doubt,

through the sworn testimony of witnesses, including expert witnesses, as well as through

admissible exhibits, each and every essential element of the crime charged in Count One of the

Indictment. The Government would also prove that the defendant is one and the same person

charged in the Indictment and that the events described in Indictment occurred in the Eastern

District of Texas and elsewhere. The Court incorporates the proffer of evidence described in

detail in the factual basis and stipulation in support of the guilty plea.

        Defendant, Roman Castillo, agreed with and stipulated to the evidence presented in the

factual basis. Counsel for Defendant and the Government attested to Defendant’s competency

and capability to enter an informed plea of guilty. The Defendant agreed with the evidence

presented by the Government and personally testified that he was entering his guilty plea

knowingly, freely and voluntarily.

                                RECOMMENDED DISPOSITION

        IT IS THEREFORE the recommendation of the undersigned United States Magistrate

Judge that the District Court accept the Guilty Plea of Defendant which the undersigned



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determines to be supported by an independent factual basis establishing each of the essential

elements of the offense charged in Count One of the charging Indictment on file in this criminal

proceeding. The Court also recommends that the District Court accept the plea agreement and

plea agreement addendum pursuant to the Local Rules for the United States District Court for the

Eastern District of Texas and Federal Rule of Criminal Procedure 11(c). Accordingly, it is further

recommended that, Defendant, Roman Castillo, be finally adjudged as guilty of the charged

offense under Title 21, United States Code, Section 846.

       Defendant is ordered to report to the United States Probation Department for the

preparation of a presentence report. At the plea hearing, the Court admonished the Defendant that

the District Court may reject the plea and that the District Court can decline to sentence

Defendant in accordance with the plea agreement and addendum, the federal sentencing

guidelines and/or the presentence report because the sentencing guidelines are advisory in nature.

The District Court may defer its decision to accept or reject the plea agreement and addendum

until there has been an opportunity to consider the presentence report. See FED. R. CRIM. P.

11(c)(3). If the Court rejects the plea agreement, the Court will advise Defendant in open court

that it is not bound by the plea agreement and Defendant may have the opportunity to withdraw

the guilty plea, dependent upon the type of the plea agreement. See FED. R. CRIM. P. 11(c)(3)(B).

If the plea agreement is rejected and Defendant still persists in the guilty plea, the disposition of

the case may be less favorable to Defendant than that contemplated by the plea agreement or

addendum. Defendant has the right to allocute before the District Court before imposition of

sentence.



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                                             OBJECTIONS

           Objections must be: (1) specific, (2) in writing, and (3) served and filed within fourteen

    (14) days after being served with a copy of this report. See 28 U.S.C. § 636(b)(1). A party’s

    failure to object bars that party from: (1) entitlement to de novo review by a district judge of

    proposed findings and recommendations, see Rodriguez v. Bowen, 857 F.2d 275, 276-77 (5th Cir.

    1988), and (2) appellate review, except on grounds of plain error of unobjected-to factual findings
.
    and legal conclusions accepted by the district court, see Douglass v. United Servs. Auto. Ass’n.,

    79 F.3d 1415, 1417 (5th Cir. 1996) (en banc). The constitutional safeguards afforded by Congress

    and the courts require that, when a party takes advantage of his right to object to a magistrate’s

    findings or recommendation, a district judge must exercise its nondelegable authority by

    considering the actual evidence and not merely by reviewing and blindly adopting the

    magistrate’s report and recommendation. See Hernandez v. Estelle, 711 F.2d 619, 620 (5th Cir.

    1983); United States v. Elsoffer, 644 F.2d 357, 359 (5th Cir. 1981) (per curiam).


                SIGNED this the 30th day of June, 2016.




                                                   ____________________________________
                                                   KEITH F. GIBLIN
                                                   UNITED STATES MAGISTRATE JUDGE




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